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Michael S. Agruss (SBN: 259567)
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Attomey for Plaintiff,

ANDREA MATUA
UNITEI) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION
ANDREAMATUA, §§A(CV]'[l _1*83 §§ @)/V>ij
Plaintiff, ) Case No.:
v. §
) PLAINTIFF’S COMPLAINT
THE MCKELLAR GROUP, LLC f/k/a )
MCKELLER & ASSOCIATES GROUP, )
INC., )
)
Defendant. l

 

PLAINTIFF’S COMPLAINT
Plaintiff, ANDREA MATUA (“PlaintifP’), through her attorney, AGRUSS LAW FIRM,
LLC, alleges the following against Defendzmt, THE MCKELLAR GROUP, LLC f/k/a MCKELLER
& ASSOCIATES GROUP, INC. (“Defendant”):
INTRODUCTION
1. Count I of Plaintif`f’$ Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C.
1692 et Seq. (“FDCPA”).
2. Count ll of the Plalntiff’S Complaint is based on Rosenthal Fair Debt Collection Practices
Act, Cal. Civ. Code §1788 et Seq. (“RFDCPA”).
.]`URISDICTION AND VENUE
3. ThiS Court hasjurisdiction under 28 U.S.C. §§1331, 1367, and 15 U.S.C. §1692k.

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telecommunication, such as by telephone and facsimile.

Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers
FACTUAL ALLEGATIONS

Defendant is attempting to collect a consumer debt from Plaintiff.

The alleged debt owed arises from transactions for personal, family, and household purposes

Within in the last year, Defendant was hired to collect on the alleged debt.

Defendant called Plaintiff on Plaintiff’ s telephone at 714-818-82xx in an attempt to collect on

the alleged debt.

Within one (l) year of Plaintiff filing this Cornplaint, Defendant communicated with Plaintiff

in an attempt to collect on the alleged debt.

Within one (l) year of Plaintiff filing this Complaint, Defendant left Plaintiff at least one

voicemail message regarding the alleged debt.

Within one (l) year of Plaintiff filing this Complaint, Defendant left the following voicemail

message for Plaintiff, “This message is intended for Andrea Matua. My name is Michelle

l\/lario and l’m contacting you in reference to a complaint that has been forwarded to my

office. If you wish to discuss the pending actions that may be filed against you, you can

contact the firm handling your tile directly at 885-872-6990 and reference your file number

714-85. Thank you.”

The telephone number of 855-872-6990 is one of Defendant’s telephone numbers

Defendant’S collector that left the message transcribed in paragraph 24 was working within

the scope of her employment when she communicated with Plaintiff in an attempt to collect a

debt.

 

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Defendant’s message for Plaintiff does not state that the call is from The McKeller Group,
LLC.

Defendant’s message for Plaintiff does not state that the collector is attempting to collect a
debt.

Defendant’s collector that left the message transcribed in paragraph 24 is familiar With the
FDCPA.

Defendant’s collector that left the message transcribed in paragraph 24 knows the FDCPA
requires debt collectors to identify the company’s name when placing a telephone call.
Defendant’s collector that left the message transcribed in paragraph 24 knows the F[)CPA
requires debt collectors to state that the communication is an attempt to collect a debt when
leaving consumers a voicemail message

Defendant’s collector that left the message transcribed in paragraph 24 threatened to take
legal action against Plaintiff.

At the time Defendant’s collector left the message for Plaintiff transcribed in paragraph 24,
Defendant did not intend to take legal action against Plaintiff.

As of the date Plaintiff filed this Complaint, Defendant has not taken legal action against
Plaintiff.

COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

. Defendant violated the FDCPA based on the following:

a. Defendant violated §l692d of the FDCPA by engaging in conduct that the natural
consequences of which was to harass, oppress, and abuse Plaintiff in connection with
the collection of an alleged debt;

b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

 

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meaningful disclosure of the caller’s identity when Defendant left Plaintiff a message
that failed to state that call was from The McKeller Group, LLC;

c. Defendant violated §1692e of the FDCPA by using false, deceptive, or misleading
representations or means in connection with the collection of a debt when Defendant
failed to identity that the call was from The l\/[cKellar Group, LLC, failed to state that
the call was an attempt to collect a debt, and threatened to take legal action against
Plaintiff;

d. Defendant violated §l692e(5) of the FDCPA by threatening to take legal action
against Plaintiff even though Defendant did not intend to take such action against
Plaintiff;

e. Defendant violated §l692e(10) of the FDCPA by using false representation or
deceptive means in connection with the collection of the alleged debt when Defendant
failed to state that the call was an attempt to collect a debt, and threatened to take
legal action against Plaintiff; and

f. Defendant violated §l692e(l l) of the FDCPA when Defendant left Plaintiff a
voicemail message that did not state the communication was an attempt to collect a
debt

36. Defendant’s acts as described above were done intentionally with the purpose of coercing
Plaintiff to pay the alleged debt.
37. As a result of the foregoing violations ol` thc Fl)CPA, Defendant is liable to Plaintiff for

statutory damages, and costs and attomey’s fees.

 

 

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WHEREFORE, Plaintiff, ANDREA MATUA, respectfully requests judgment be entered
against Defendant, THE MCKELLAR GROUP, LLC B'kfa MCKELLER & ASSOCIATES GROUP,
'INC., for the following:

38. Statutory damages of Sl,OO0.00 pursuant to the F air Debt Collection Practices Act, 15 U.S.C.

16921<;

39. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

U.S.C. 16921<; and

40. Any other relief that this Honorable Court deems appropriate

DEFENDANT VIOLATED 'I`HE ROSENTHAL FAIR DEB'I` COLLECTION PRACTICES
ACT

41. Plaintiff repeats and re-alleges paragraphs 1-34 of Plaintiff`s Complaint as the allegations in
Count ll of Plaintist Complaint.
42. Defendant violated the RFDCPA based on the following:

a. Defendant violated the §1788.10(1‘) of the RFDCPA by threatening to take legal
action against Plaintiff even though Defendant did not intend to take such action
against Plaintiff;;

b. Defendant violated the §1788.11(b) of the RFDCPA by placing telephone calls
without meaningful disclosure of the caller’s identity when Defendant left Plaintiff a
message that failed to state the call Was from The McKeller Group, LLC;

c. Defendant violated the §1788.13@) of the RFDCPA by falsely representing that a
legal proceeding has been, is about to be, or will be instituted unless payment of a
consumer debt is made; and

d. Defendant violated the §1788.17 of the RFDCPA by continuously failing to comply

with the statutory regulations contained within the FDCPA, 15 U.S.C. § 1692 et seq.

 

 

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WHEREFORE. Plaintiff, Al\lDREA MATUA, respectfully requests judgment be entered
against Defendant, THE MCKELLAR GROUP_, LLC fflo"a MCKELLER. & ASSOCIATES GROUP,
lNC., for the followin.g:

43. Statutory damages of 31 1000.()0 pursuant to the Rosenthal Fair Debt Collection Practices Act_

Cal. Civ. Code §1788.30{b),

44. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection Practices

Act Cal. Civ Code§ 1788. 30(€) and

45. A_ny other relief that this Honorable Court deems appropriate

RESPECTFULLY SUBMITTED,

DATED; lanualy 28, 2014 AGRUSS LAW FlRl\/l LLC

Michael W'“\
Attorney r Plaintiff

ANDR_EA MATUA

 

